           Case 1:19-cv-03047-RHW                    ECF No. 13          filed 01/29/21     PageID.896 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                  FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                     Eastern District of Washington               EASTERN DISTRICT OF WASHINGTON


                          MARTIN K.,
                                                                                                   Jan 29, 2021
                                                                     )                                 SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:19-CV-03047-RHW
                                                                     )
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL
                SECURITY,                                            )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 9) is GRANTED, in part.
’
              Defendant’s Motion for Summary Judgment (ECF No. 10) is DENIED.
              This matter is REMANDED to the Commissioner for further proceedings.
              Judgment is entered in favor of Plaintiff.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge           ROBERT H. WHALEY                                                  on motions for
      Summary Judgment (ECF Nos. 9 and 10).


Date: 1/29/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lee Reams
                                                                                          (By) Deputy Clerk

                                                                             Lee Reams
